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UNITED S'I`ATES DISTRICT COUR'I`
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

UNITED STATES OF AMERICA

)1. ATTI
€X f'¢ , P NILSSON and /Civil Action No.

)
JoANN leTH, §
Plaimiffs ) FILED UNDER sEAL
’ ) JURY TRIAL DEMAND
V' i no NoT PLACE IN RUN Box
EYE cENTERs oF FLoRIDA, P.A., § DO NOT PLACE ON I,ACER

Defendant.

 

PLAINTIFF-RELATORS’ QUI TAM C()MPLAINT

 

Plaintiff-Relators, Patti Nilsson and JoAnn Smith, bring this qui lam action, pursuant
to the False Claims Act, 31 U.S.C. § 3729, et .s'eq., (“FCA”) in the name of and on behalf of
the United States of America (“Plaintifl"’), by and through their counsel of record, and state
as follows:

INTRODUCTION

This is an action by qui ram relators, Patti Nilsson (“Nilsson”) and JoAnn Srnith
(“Smith”) (collectively “Relators”), to recover penalties and damages arising from violations
of the FCA committed by Defendant, Eye Centers of Florida, P.A. (“ECF”). Relators claim
that Defendant performed and/or caused to be performed medically unnecessary tests and
surgeries on Advantica Medicare patients based on falsified patient records. Relators further
allege that Defendant knowingly presented or caused to bc presented false and fraudulent

claims and claims based on false and fraudulent medical records to the United States

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Government or its contractors and agents in order to be reimbursed for these unlawful tests

and procedures in violation of the FCA.

PARTIES

1. Defendant ECF is a professional corporation formed pursuant to the laws of
the State of Florida. Its principal business address is 4101 Evans Avenue, Fort Myers, Florida
33901. The registered agent for service of process on Defendant is Jeanne Smith, and the
address for service of process is ECF’s principal business address. ECF owns and operates
twelve eye care centers throughout the Fort Myers, Florida area where ophthalmological
services are provided to recipients of Medicare, as well as other patients Defendant’s
ophthalmology centers are located at the following addresses:

Bonita Springs

26831 S. Tamiami Trail

Unit 47

Bonita Springs, Florida 34135

Cape Coral

2301 Del Prado Boulevard South
Unit 650

Cape Coral, Florida 33990

Clewiston
820 West Sugarland Highway
Clewiston, Florida 33440

Fort Myers- Main Clinic, Surgery & Aesthetics
4101 Evans Avenue
Fort Myers, Florida 33901

Fort Myers East

4881 Palm Beach Boulevard
Suite 200

Fort Myers, Florida 33905

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Fort Myers South

15661 San Carlos Boulevard
Suite 4

Fort Myers, Florida 33908

Immokalee
555 North 15th street
Immokalee, Florida 34142

LaBelle

870 West Hickpochee Avenue
Unit 1400

LaBelle, Florida 33935

Lehigh Acres
3507 Lee Boulevard
Lehigh Acres, Florida 33971

Naples North

877 11th Avenue

Unit 2

Naples, Florida 34108

Naples South

2500 Tamiami Trail North
Unit 109

Naples, Florida 34103
Port Charlotte

18316 Murdock Circle

Suite 108
Port Charlotte, Florida 33948

2. ECF employs five ophthalmologists, including Barrett R. Ginsburg, Quentin
B. Allen, Claudio A. Ferreira, Shailesh Gupta, and David C. Brown, who is also ECF’s
Medical Director and Founder. ECF also employs thirteen optometrists, including Karen

Memoli, Frederick Brown, Kelly D. Anderson, Michael F. Spencer, Rachel Chant, Emilio J.

Martinez, David J. Overholt, Robert Underberg, William R. Cutting, Nicole A. Tyrell, Jill R.

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Sagona, Tan-Long Pham, and Eric J. Eiselman, one ocularist, Dean B. Scott, and one
ophthalmic plastic surgeon, Allison B. Yee. Additionally, ECF employs numerous certified
and non-certified ophthalmologist assistants (“OA”).l

3. Relator Nilsson is a resident of the State of Florida. Her current address is
1619 Ibis Couxt, Punta Gorda, Florida 33982. Nilsson has worked as an OA since 1988 and
became a certified OA in 1992. She has lived in the State of Florida since May 2013.

4. Nilsson was employed by Defendant ECF as a certified OA from
approximately August 1, 2013 to present, and thus has firsthand knowledge of ECF’s
falsification of medical records and performance of tests and surgeries based on falsified
records and when not medically necessary. Nilsson has personal knowledge of ECF ordering
unnecessary tests, falsifying eye test scores, and scheduling unnecessary eye surgeries based
on these false test scores with respect to Advantica Medicare patients and therefore
constitutes an original source, as defined in 3'1 U.S.C. § 3730(€)(4)(B), of the infractions
contained herein.

5. Relator Smith is a resident of the State of Florida. Her current address is 1787
Four Mile Cove Pkwy #426, Cape Coral, Florida 33990. Smith has worked in healthcare
financial management since 1995, during which time she gained extensive experience in
healthcare billing procedures

6. Smith was employed by ECF as a Clinic Operations Manager, which includes
charge capture for reimbursement, from approximately July 15, 2013 to October 24, 2013,

and thus has knowledge of ECF’s provision of services in violation of Medicare

 

1 The information in this Paragraph is available at ECF’s website, http://www.ecof.com/,
under About Us: Our Doctors and Locations.

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requirements, and ECF’s performance of and requests for reimbursement for tests and
surgeries based on falsified records These actions resulted in false and fraudulent claims for
healthcare services being presented to the Govemment or its contractors or agents by ECF.
Smith has personal knowledge of ECF’s billings to Advantica Medicare and therefore
constitutes an original source, as defined in 31 U.S.C. § 3730(e)(4)(B), of the infractions
contained herein.

JURISDICTION AND VENUE

7. The Court has subject matter jurisdiction over this action pursuant to 28
U.S.C. § 1331 (federal question jurisdiction), as well as 28 U.S.C. § 1345 (as the United
States is a Plaintiff) and 31 U.S.C. § 3732 (the FCA).

8. The Court has personal jurisdiction over Defendant pursuant to 31 U.S.C.
§3732(a) because Defendant’s principal place of business is in this judicial district,
Defendant’s ophthalmology centers are located in this judicial district, and Defendant
purposefully conducts business in this judicial district.

9. Venue is appropriate Within the Middle District of Florida pursuant to 28
U.S.C. § 1391(b) and (c) and 31 U.S.C. § 3732(a) because the illegal acts and practices
alleged in this Complaint occurred in this judicial district.

10. Relators have made the appropriate voluntary disclosures to the United States
Govemment prior to the filing of this lawsuit on behalf of Plaintiff as required by 31 U.S.C.

§ 3730(\>)(2).

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SUMMARY OF APPLICABLE LAW
A. The False Claims Act

11. Congress enacted the False Claims Act which provides in pertinent part, that
any person who “knowingly presents, or causes to be presented, a false or fraudulent claim
for payment or approval [or] knowingly makes, uses, or causes to be made or used, a false
record or statement material to a false or fraudulent claim” is liable to the United States
Govemment for civil penalties and treble damages 31 U.S.C. § 3729(a)(1)(A)-(B). Under the
FCA, the terms “knowing” and “knowingly” mean that a person, with respect to information
“(l) has actual knowledge of the information; (2) acts in deliberate ignorance of the truth or
falsity of the information; or (3) acts in reckless disregard of the truth or falsity of the

infonnaaon." 31 u.s.C. § 3729(b)(1)(A).

B. The Medicare Program

12. In 1965, Congress enacted Title XVIII of the Social Security Act, commonly
known as the Medicare program, to pay for the costs of certain healthcare services The
Medicare Program is a federal health insurance program for older Americans and persons
With disabilities Individuals who are insured by Medicare are known as beneficiaries
Medicare is funded by the federal government and administered by the Centers for Medicare
& Medicaid Services (“CMS”).

13. The Medicare program is comprised of several parts Healthcare services and
payment under Part C of the Medicare program are the subjects of this case (although, upon

information and belief, other parts of the Medicare program are also implicated).

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14. To administer the Medicare program, private insurance companies act as
agents of the Department of Health and Human Services (“HHS”) in making payments on
behalf of the program beneficiaries and providing other administrative services and/or
managing benefits via contracts with HHS. Advantica Medicare is a Medicare vision plan
available to Medicare beneficiaries, and is the Medicare plan at issue in this case. Medicare
beneficiaries can purchase Advantica plans to provide vision benefits Advantica is an agent
or contractor of Medicare, and thus providers who present false claims to Advantica are
subject to FCA liability pursuant to 31 U.S.C. § 3729(b)(2)(A).2

15. Other private insurance companies, such as Medicare Administrative
Contractors (“l\/IAC”) under the Medicare Part B program, act on behalf of CMS to help
administer the traditional Medicare program as well. 42 C.F.R. §§ 405.1801(b), 421.5(b).
First Coast Service Options, Inc. (“First Coast”) is the MAC under contract with CMS to

administer or aid in administering Part B Medicare claims in Florida. Medicare, through First

 

2 (2) the term “claim”--

(A) means any request or demand, whether under a contract or otherwise, for money or
property and whether or not the United States has title to the money or property, that--

(i) is presented to an officer, employee, or agent of the United States; or
(ii) is made to a contractor, grantee, or other recipient, if the money or property is to
be spent or used on the Govemment's behalf or to advance a Govemment program or

interest, and if the United States Govemment--

(I) provides or has provided any portion of the money or property requested or
demanded; or

(II) will reimburse such contractor, grantee, or other recipient for any portion of
the money or property which is requested or demanded . . . .

31 U.s.C. § 3729(b)(2)(A).

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Coast, establishes and publishes the criteria for determining which services are eligible for
reimbursement or coverage. This information is made available to the providers Who seek
reimbursement from Medicare. Companies like Advantica utilize Medicare guidelines in
managing vision benefits, but may also adopt additional, more demanding guidelines at their
discretion.

16. Healthcare providers rendering services to Advantica Medicare beneficiaries
or traditional Medicare seek reimbursement by submitting a claim form to Advantica which
is a “Request for Medicare Payment” and which identifies, among other things, the services
provided to the patient, the symptoms or diseases Suffered by the patient, and the medical
professional providing the services When requesting payment by submitting a claim, the
provider further certifies expressly and impliedly, that the information provided is truthful.
At all times relevant to this action, Advantica, upon information and belief, reviewed and
approved the claims at issue in this case based upon the enrollment and claim information
provided by Defendant, and relied on the veracity of the information in determining Whether
to pay the claims submitted by Defendant.

17. When submitting claims to government healthcare programs healthcare
professionals are identified by a provider number. No healthcare provider may submit claims
and receive payment from the government for services provided to Advantica Medicare
beneficiaries unless the provider has first applied for and received a provider number. Once
approved, the provider number designated by Medicare is unique to that Medicare provider.
All claims submitted by the Medicare provider must utilize the specific provider number, and

all Medicare payments for reimbursement must be identified by the specific provider

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number. The Defendant used its provider number when submitting the claims at issue to

Advantica Medicare.

C. Requirements for Payment

18. “Medicare will consider cataract surgery medically necessary and reasonable”
if, among other things, a patient has a visual acuity “worse than 20/40 with impairment of
ability to carry out needed or desired activities The ocular exam should confirm that the best
correctable visual acuity in the affected eye is worse than 20/40 and that the cataract is
responsible for this.” First Coast, Local Coverage Deterrnination L29095, effective March
31, 2009, attached as Ex. A. At all material times, Advantica followed this or similar
directives when providing coverage of cataract services as Advantica also required worse
than 20/40 impairment

SUMMARY OF THE FACTS

19. Relator Nilsson has worked as an OA at ECF from August l, 2013 to date. As
an OA, Nilsson conducts patients’ eye examinations fills out patient charts in accordance
with her examination results, and discusses such results with patients More specifically,
during examinations Nilsson conducts patient histories and medication verifications, and
performs visual acuity, refraction, and pressure tests, as Well as any additional tests that are
indicated on patients’ exam forms Nilsson then completes each patient’s exam form with
her examination and test results so that the form can be supplied to the physician

20. Nilsson works primarily at ECF’s main office in Ft. Myers, but occasionally

works at ECF’s Clewiston, Lehigh, Cape Coral, Port Charlotte, and East Fort Myers offices

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Nilsson generally works from 8:00 a.m. to 4:00 p.m. Monday through Friday and also on one
Saturday each month.

21. Relator Smith worked as ECF’_s Clinic Operations Manager from July 15,
2013 to October 24, 2013. As a Clinic Operations Manager, Smith directly supervised ECF’s
certified and non-certified OAs, as well as patient registration and charge capture for medical
services Smith was responsible for reviewing charges for medical services entered for
reimbursement from various providers including Advantica Medicare,

22. Smith worked primarily at ECF’s main office in Ft. Myers, but routinely
visited all of ECF’s other offices as part of her primary responsibilities Smith generally
worked from 8:00 a.m. to 5:00 p.m. Monday through Friday, but as a salaried employee, she
was on call at all times Smith quit her employment based upon the activities discussed

herein.

A. Falsification of Exam Results

23. On Nilsson’s second day of Work at ECF, another ECF OA, asked Nilsson to
“re-write” the results from an examination that Nilsson had conducted on a patient and to
alter the patient’s chart to give the patient Worse vision scores than they had actually
received. Nilsson refused.

24. Shortly thereafter, Nilsson noticed that her initials appeared on a patient chart
next to another set of initials and that the handwriting on this chart was not hers The two sets
of initials appeared in a section labeled “W/up Tech,” in which the initials of the ECF

employee who “worked up” the chart (i.e., conducted the examination and filled out the

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chart) are to be placed. However, this particular chart was not in Nilsson’s handwriting and
she did not fill it out.

25. In fact, Nilsson discovered that when there were two sets of initials Written on
charts, the charts had been “rewritten” by another OA. In other words, after Nilsson
conducted an eye exam, documented the results of the exam, including but not limited to
Visual Acuity Test results, and wrote her initials on the chart, another ECF employee would
“rewrite” the entire chart and place Nilsson’s initials, along with the other ECF employee’s
own initials, in the “W/up Tech” section.

26. Nilsson observed that when charts were rewritten, certain exam results that
she recorded were altered to meet Advantica Medicare (hereinafter “Advantica” or
“Medicare”) requirements for additional testing or surgery. For example, when a patient’s
vision was not poor enough to justify cataract extraction surgery, the chart would be
“rewritten” and the patient’s scores would be altered so that the patient’s vision was poor
enough to qualify for surgery.

27. Nilsson observed that numerous charts, including, but not limited to Patient
A’s results were rewritten by ECF employees to include false test results, Which allowed
ECF to recommend and perform unnecessary surgeries, and then, upon information and
belief, submit claims to Advantica Medicare for these unnecessary surgeries including but
not limited to cataract extraction. Nilsson personally observed that the rewriting of patient

charts and the falsification of the tests results therein was common and encouraged by ECF

management and staff.

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28. ECF’s “original” charts showing accurate vision testing, a number of which
Nilsson retained on e.g. Patients A and B, illustrate how charts were rewritten and how
examination results were altered in order to justify a surgery recommendation

29. For example, in the case of Patient A, on November 6, 2013, Nilsson had
personally conducted the examination on this patient and her documentation for Patient A
recorded the patient’s visual acuity in the section labeled CC as 20/30 and 20/25. Under the
“W/up Tech” section, she recorded her initials, “pfn.” The same chart was subsequently
rewritten and the falsified version for Patient A, which also stated the date of examination as
November 6, 2013, then stated that the patient’s visual acuity was 20/50 and 20/50, not the
20/30 and 20/25 as shown by the vision testing actually performed and documented by
Relator Nilsson. The rewritten “W/up Tech” section bore the initials “PN/AC,” indicating
that the chart was written up by both Nilsson and another OA. The new chart was not in
Nilsson’s handwriting Also, the new chart stated in the “ECC Next” section, “admit,” which
meant that the patient should have been admitted for cataract extraction based on the results
of the vision testing. Additionally, both the original and old charts were marked “ADV,”
which indicated that Patient A was insured by Advantica.

30. In the case of Patient B, an ECF employee wrote “Redo” across the patient’s
chart, indicating that the chart needed to be rewritten, The chart was also been marked
“ADV”, which indicated that Patient B was insured by Advantica. An ECF employee wrote
“Redo” on the chart because the actual visual acuity score recorded on the chart would not

meet Advantica Medicare’s coverage guidelines for cataract extraction surgery (worse than

20/40 visual acuity).

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31. For each patient visit, ECF retains a patient chart, a hard copy version of
which is retained in ECF’s patient record files Nilsson observed that when patient charts
were rewritten, the original charts/test results did not appear in the medical record and only
the rewritten charts were retained. Nilsson observed that ECF employees shredded original
charts She believed they did so in order to destroy evidence of falsification When possible,
Nilsson kept copies of her original charts when she believed that they might later be altered
by another OA to meet Advantica Medicare cataract criteria.

32. As part of her job as Clinic Operations Manager, Relator Smith audited a
random sample of patient charts each day, which were attached to “face sheets” in order to
ensure that all tests had been checked for charge entry. Insurance and demographic
information, including age, is contained on face sheets Essentially, Smith was to confirm
that the checkout staff had properly entered the charges throughout the day. During these
audits, Smith was to ensure that procedures in the charts had been submitted to ECF’s billing
department for billing to insurance payors.

33. After speaking with Nilsson, Smith noticed during her audits that there were
two sets of initials in the “W/up Tech” section of certain Advantica patient charts Relator
Nilsson explained to Smith that when charts featured double initials in the “W/up Tech”
section, this meant that the charts had been altered. Once Smith found out that ECF
employees were altering patient charts, she was mindful of charts With two sets of initials,

and saw them often.

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34. Based on Smith’s observations nearly all of the charts With two sets of initials
that she noticed in her audit samples were Advantica charts and, based on the age of these
patients these charts were for Advantica Medicare patients

35. When the examination results for cataract evaluations which were almost
always administered to Medicare patients did not meet the visual acuity requirements for
Advantica Medicare coverage, the charts were altered.

36. Smith also observed that when patient charts were rewritten, the original
charts/test results did not appear in the medical record and only the rewritten charts were
retained. Upon information and belief, ECF employees destroyed, or intended to destroy, the
original charts for Patients A & B and these original charts are therefore, upon information
and belief, not included in any of ECF’s records

37. ECF financial counselors served as ECF’s insurance experts and often
communicated with Advantica to determine Advantica and Medicare’s reimbursement
standards They prepared the patient record for surgery, including obtaining authorization
and talking to patients regarding self-pay balances They often rejected records that didn’t
comply with Advantica Medicare requirements They returned records for exams that did not
comply with Advantica Medicare requirements to other ECF employees who then altered or
“re-wrote” the patient records in order to “comply” with the requirements and render ECF
services eligible for reimbursement When ECF’s financial counselors returned these charts
“Re-Write” or “Re-Do” was sometimes written on the charts indicating that they should be
changed in order to qualify a patient for surgery or additional testing. ECF’s financial

counselors would accept falsified “compliant” records for billing.

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38. When returning a “noncompliant” record to one ECF OA for alteration,
Nilsson heard an ECF financial counselor instruct the OA that “this is not gonna cut it.”

39. The same ECF employees that rewrote patient charts also altered examination
results during the exams that they personally conducted by simply writing in incorrect results
that would qualify patients for surgery or additional testing or by simply not showing the
patients smaller lines on visual exams because these smaller lines could have indicated better
vision than recorded.

40. During a team meeting with many OAs, a Lead ECF OA instructed the OAs,
including Nilsson, that OAs were not to “push” cataract patients to see better during
refraction and glare portions of exams As a result, inaccurate and worse vision scores could
be recorded, and thus more cataract patients could qualify for surgeries Which could be billed
to Advantica Medicare.

41. The Lead OA instructed the OAs, for example, that they should not even give
patients the opportunity to try to read the smaller rows of letters on the refraction test or
“push” them to do so. It was understood by attendees that allowing patients to read the
smaller rows could result in visual acuity scores that were too good to justify surgery under
Advantica Medicare requirements However, by failing to conduct a complete refraction test,
and by recording inaccurate test results the test results and corresponding claims submitted
were false and were fabricated to enable ECF to administer and bill Advantica Medicare for
unnecessary tests and surgeries Upon information and belief`, payors other than Advantica

were also billed for unnecessary tests and surgeries including Medicare.

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42. One OA under Smith’s supervision met With Smith during the week of
October 14, 2013 regarding ECF’s falsification of patient charts The OA reported that
another ECF employee had complained that the OA’s examination results were
“inappropriate” for billing. When the OA refused to alter these “inappropriate” charts the
OA was formally written up for insubordination on October 23, 2013. Smith spoke with an
ECF human resources representative and ECF’s Chief Operations Officer regarding the
disciplinary actions taken against the OA. ECF’s human resources representative told Smith
that this was “out of her control,” and ECF’s Chief Operations Officer explained that the
OA’s refirsal to alter charts was “causing problems” for the doctors On October 24, 2013,
the OA was terminated

43. As a result of ECF’s falsification of examination results upon information and
belief`, patients other than just Patients A & B received surgeries that, based on their actual
examination results were not medically necessary and did not qualify for Medicare
reimbursement (Nilsson discovered, based on ECF’s electronic patient calendar, that Patient
A was scheduled for cataract extraction surgery on November 27, 2013 in the left eye and
Patient B actually received cataract extraction surgery on the right eye on October 6, 2013.)

44. These unnecessary cataract extractions not only inflicted needless pain and
suffering upon unsuspecting patients but also exposed them to the health risks inherent in
these surgeries

45. Smith performed an insurance charge check at the end of each day, during
which she would confirm that each test that had been performed that day had been billed in

full to the correct insurance provider. Smith personally observed that cataract examinations

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and cataract extraction surgeries on patients over the age of 65 were billed to Advantica
Medicare. Based upon Smith and Nilsson’s observations as well as information and belief,
unnecessary tests and surgeries were billed 'to Advantica Medicare (and other payors,
including Medicare) based on records that were falsified by ECF, including but not limited to

cataract extraction surgery on Patients A & B.

B. Pre-Filling of Patient Conditions and Required Tests

46. Additionally, when conducting eye exams Nilsson was often given patient
charts with certain portions already completed (“pre-filled”) and was instructed to complete
only the remaining portions Another ECF employee would fill in certain patient conditions
required tests or test results before the exam even began. By doing so, the patients’ charts
would purportedly justify the ordering of additional tests or surgeries which could then be
billed to Advantica Medicare or other payors including, upon information and belief,
Medicare.

47. Smith also noticed pre-filled charts when she was auditing charts because the
handwriting Was not the same in the conditions testing, or results sections as it Was in the
examination section. Smith personally observed that charts with different handwriting in
these sections were very common.

48. ECF employees instructed Smith to tell OAs to require as many tests as
possible. Smith was required to audit patient charts to ensure that OAs conducted every test

as often as Medicare guidelines would allow, regardless of the patients’ conditions or their

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actual test results Nilsson observed that charts were pre-filled without any attempt to
determine the accuracy of alleged test results

49. Smith personally observed that OAs generally pre-filled patient charts about
two days prior to appointments but would pre-fill charts as late as the morning before the
appointment if they fell behind.

50. In the case of Patient C, the patient’s exam results are fabricated and pre-
filled. In Patient C’s initial examination on October 18, 2013, the patient did not receive a
BAT (“Brightness Acuity Test”) and thus no test results were entered in the BAT section.
Nilsson received the chart for Patient C’s subsequent follow up examination with Dr. Brown
With a BAT score, however. The information on this chart had been pre-filled before any
exam had been conducted and before either an OA or Dr. Brown had seen Patient C. A BAT
score had fabricated for the patient in the BAT section. The BAT score in the pre-filled chart
was false and any claims submitted to Advantica Medicare based on this false record would

therefore also be false.

C. Unnecessar'y and Useless Testing

51. Nilsson also observed that firndus photos photographs of the back of the eye
during dilation that are examined to detect various conditions were ordered for nearly every
patient, even when the photos were not medically necessary. Fundus photos were loaded into
an electronic database and were never used or interpreted by any ECF physicians or staff,

rendering them completely useless and unnecessary The claims for such photos which were

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submitted to Advantica Medicare and, upon information and belief, Medicare, were false and
represented services which were medically unnecessary

52. ECF employees instructed ECF OAs, including Nilsson, to make sure to take
fundus photos as often as Medicare regulations allowed. No references were made to medical
necessity.

53. ECF’s COO instructed Smith to make sure that OAs in all ECF offices were
ordering as many diagnostic tests as possible.

54. ECF’s COO required that Smith calculate the number of times that each
physician performed each test each week and report her calculations to ECF management If
too few tests were being performed, ECF’s COO instructed Smith to speak with the OAs,

rather than the physicians about “bringing the numbers up.”

D. False Billings for Services Performed by a Physician’s Assistant

55. Each Friday, from September 13 through at least October 25, 2013, an ECF
Ophthalmologist (the “MD”) certified that he performed certain procedures and signed the
patient charts for these procedures when the procedures were in fact performed by a
Physician’s Assistant (“PA”) in ECF’s Clewiston office.

56. Smith personally observed that the Clewiston PA brought her patient charts to
the MD each Friday so that the MD could certify that he performed the procedures and sign
the related charts The charts were signed by the MD because, during this time period, no

medical doctor was in the Clewiston Office on Fridays

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57. Smith was specifically instructed by ECF’s COO to ask the Clewiston PA to
deliver the unsigned charts to the MD and to bill for these procedures using the MD’s billing
code. Smith did so. The Clewiston PA then confirmed with Smith that she had brought the
charts and that the MD had signed them.

58. Smith personally observed that ECF’s Clewiston Office serviced
Medicare/Medicaid patients including Advantica Medicare beneficiaries almost exclusively;
thus upon information and belief, these services based on falsified charts were billed to

Medicare and/or Medicaid, at the ECF COO’s direction.

E. Knowledge and Encouragement of Fraudulent Practices

59. ECF employees who implemented ECF’s fraudulent practices were trained to
do so by ECF management from the beginning of their employment

60. For example, when Nilsson brought up the rewriting of patient charts With two
OAs who had both worked at ECF since at least November 2011, they told Nilsson that they
“had always done it this way.”

61. In early August 2013, shortly after joining ECF, Nilsson reported that charts
were being rewritten to falsify examination results to ECF’s Clinic Coordinator. However,
these issues were not addressed as the Clinic Coordinator’s employment with ECF ended in
mid-August 2013. An ECF human resources representative later informed Smith that ECF
terminated the Clinic Coordinator because she suggested that a patient get a second opinion

regarding the necessity of cataract extraction surgery.

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62. Nilsson also reported that charts were being rewritten to an ECF human
resources representative The ECF human resources representative explained that she had
heard about these practices from multiple employees many of whom either quit working for
ECF, or were terminated by ECF, because they refused to participate in ECF’s fraudulent
activities She also assured Nilsson that she would talk to ECF management about Nilsson’s
concems but, to Nilsson’s knowledge, ECF’s fraudulent practices were never further
addressed or remedied The same ECF human resources representative later mentioned to
Smith that she was searching for a new job because she was similarly concerned with the
legality of ECF’s practices

63. Smith also reported that charts were being rewritten and that tests were being
administered without a physician’s order directly to ECF’s COO. ECF’s COO shrugged off
Smith’s reports and asked Smith if she didn’t think that the patients wanted “crisp, clear
vision.” ECF’s COO repeatedly refused to address the illegality of` ECF’s practices

64. Nilsson then reported that charts were being rewritten to ECF’s new Clinic
Coordinator. The new ECF Clinic Coordinator did not address Nilsson’s concerns and
wanted to make sure that the OAs did what ECF management wanted.

65. Nilsson also reported that charts were being altered to her ECF department
leader.

66. When Nilsson complained about ECF’s fraudulent practices in a team setting,
during which most of the Fort Myers Office OAs were present many of the OAs confirmed
that they were taught to follow these practices when they joined ECF and that they did what

they were told so that they could keep theirjobs.

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67. Additionally, Smith confronted ECF’s Credentialing & Compliance Manager
about ECF’s practice of falsifying patient charts who said that she knew, but was powerless
to change it.

68. In response to Relators repeated efforts to report ECF’s fraudulent practices
ECF staff and management repeatedly informed Nilsson and Smith that this was simply the
way that things had always been done.

69. Nilsson made sure to inform patients who did not have poor vision that they
did not need surgery. However, upon information and belief, an ECF Physician would then
speak to the patients privately in the examination room and tell them that the cataract needed
surgery. Unfortunately, upon information and belief, most patients trusted the ECF

Physicians’ opinion over Nilsson’s opinion as an OA.

DEFENDANT’S KNOW!NG SUBMlSSION OF FRAUDULENT CLAIMS

70. ECF committed the fraudulent practices set forth above in 1[1[ 22-69 in
violation of Medicare rules and regulations (the “Fraudulent Practices”) and the FCA.

71. Upon information and belief, ECF implemented, and continues to implement
the Fraudulent Practices with respect to patients over the age of 65 with Advantica Medicare
or other coverage, including Medicare.

72. Upon information and belief, and based upon the fact that numerous ECF
employees have reported, with respect to the Fraudulent Practices, that this is the way “that
things have always been done,” ECF has implemented the Fraudulent Practices described

above for many years prior to Relators’ employment In any case, ECF has implemented the

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Fraudulent Practices described above beginning no later than July 2013, when Smith joined
ECF, and presently continues to do so.

73. ECF has administered, billed Advantica Medicare for, and, upon information
and belief, received reimbursement from Advantica Medicare and other payors such as
Medicare, for tests and surgeries based upon the Fraudulent Practices including, but not
limited to, upon information and belief, Patients A, B, and C, and other patients and presently
continues to do so.

74. Based on the Relators’ personal observations ECF violated the FCA by
submitting claims to Advantica Medicare in order to receive payment for tests and surgeries
based on the Fraudulent Practices (the “Claims”).

75. Smith personally observed, based on her experience in ECF’s billing
department that ECF’s patient insurance was comprised of approximately 80%
Medicare/Medicaid, including but not limited to Advantica Medicare, 15% Commercial, and
5% Self-Pay.

76. Based on Nilsson’s personal experience with ECF patients approximately
80% of ECF patients are over 65 years old or older and therefore would qualify for Medicare.

77. Because the Fraudulent Practices were consistently supported, encouraged,
and implemented by the ECF management and staff, despite numerous warnings from both
Nilsson and Smith that their actions were fraudulent and illegal, ECF knew that the Claims

submitted were false and fraudulent and based on false and fraudulent records

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78. Had Advantica Medicare and, upon information and belief, other payors such
as Medicare, known the true nature of the Claims they would not have reimbursed ECF for
the Claims

79. ECF has billed Advantica Medicare and, upon information and belief, other
federal payors, such as Medicare, for the Claims despite the fact that the Claims are not
eligible for reimbursement and ECF has therefore damaged the federal treasuries which
should only have been billed for, and should have only reimbursed ECF for, eligible medical
services that complied with Medicare coverage criteria, applicable Local Coverage
Detenninations, and federal regulations

CAUSES OF ACTION

CoUNT oNE
vroLATIoN oF 31 U.s.C. § 3729(a)(1)(A)

80. Paragraphs 1 through 79 are incorporated by reference as if fully set forth
herein.

81. In violation of 31 U.S.C. § 3729(a)(1)(A), Defendant knowingly presented, or
caused to be presented to Advantica Medicare and, upon information and belief, other federal
payors, including Medicare, false and fraudulent claims for payment or approval, and
specifically billed federal healthcare programs for unnecessary and worthless cataract
extraction surgeries and ophthalmological tests and/or tests which were not performed.

82. As a result of Defendant’s violations of 31 U.S.C. § 3729(a)(1)(A), Plaintiff
has suffered damages and therefore is entitled, pursuant to 31 U.S.C. § 3729(a)(1), to treble

damages as determined at trial, plus a civil penalty of $5,500 to $l 1,000 for each violation.

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vroLATIoN oF 31 U.s.C. § 3729(a)(1)(B)

83. Paragraphs 1 through 82 are incorporated by reference as if fully set forth
herein.

84. In violation of 31 U.S.C. § 3729(a)(1)(B), Defendant knowingly made, used,
or caused to be made or used, a false record or statement material to a false or fraudulent
claim. Defendant did so by taking certain actions including but not limited to altering
examination results on patient charts and pre-filling conditions and tests on patient charts
which were not present and not performed and then submitting claims for unnecessary tests
and surgeries to Advantica Medicare and, upon information and belief, other federal payors,
including Medicare, based on these false patient records

85. As a result of Defendant’s violations of 31 U.S.C. § 3729(a)(1)(B), Plaintiff
suffered damages and therefore is entitled, pursuant to 31 U.S.C. §3729(a)(l), to treble

damages as determined at trial, plus a civil penalty of $5,500 to $11,000 for each violation.

COUNT THREE
PAYMENT BY MISTAKE

86. Paragraphs 1 through 85 are incorporated by reference as if fully set forth
herein.

87. The false claims that Defendant submitted to Plaintiff’s agents were paid
based upon mistaken or erroneous understandings of material facts including, but not limited

to, the mistaken fact that Defendant had rendered valuable and medically necessary medical

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services as claimed in their billings based on alleged accurate medical records and treatment
actually rendered.

88. Plaintiff, acting in reasonable reliance on the truthfulness of the claims and the
truthfulness of Defendant’s certifications and representations in their billed claims paid
Defendant certain sums of money to which Defendant was not legally entitled,

89. Defendant must therefore account for and pay such amounts as determined at

trial, to Plaintiff.

COUNT FOUR
UNJUST ENRICHMENT

90. Paragraphs l through 89 are incorporated by reference as if fully set forth
herein.

91. By directly or indirectly obtaining federal funds to which Defendant was not
legally entitled, Defendant received a benefit, which would be unjust and inequitable for
Defendant to retain.

92. Defendant has therefore been unjustly enriched and must account for and pay
such amounts or the proceeds therefrom, as determined at trial, to Plaintiff.

93. Relators reserve their right to amend this Complaint to add additional

allegations and causes of action against the Defendants.

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PRAYER FOR RELIEF
WHEREFORE, Relators pray, on behalf of Plaintiff, that this Court:

1. For Plaintiff’s Causes of Action under 31 U.S.C. § 3729(a)(1)(A-B), enter
judgment against Defendant for the amount of Plaintiff’s damages trebled pursuant to 31
U.S.C. § 3729(a), and civil penalties in the amount of $1 1,000 for each knowing violation of
the FCA;

2. For Plaintiff"s Causes of Ac`tion for payment by mistake and unjust
enrichment enter judgment against Defendant in the amount of Plaintist damages and/or
the amount by which Defendant was unjustly enriched or which Defendant retained illegally;

3. Require that Defendant provide an accounting of all revenues illegally
obtained or retained by Defendant;

4. Award Relators all costs, including court costs expert fees investigative
expenses and reasonable attorneys’ fees incurred by Relators in the prosecution of this suit;

5. Grant Relators and the United States leave to amend the Complaint based on
any new evidence acquired throughout the discovery process and

6. Grant Relators and the United States such other and harther relief that the

Court deems appropriate and proper.

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Respectfully submitted,

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Bradley P. Rothman, Trial Counsel
Florida Bar No. 0677345

Weldon & Rothman, PL

7935 Airport Pulling Road N., Suite 205
Naples Florida 34109

Telephone: (239) 262-2141

Facsimile: (239)262-2342

Email: brothman@weldonrothman.com

-and-

Richard C. Rose

Tennessee Bar No, 017544

Lynzi J. Archibald

Tennessee Bar No. 030063

Miller & Martin PLLC

Volunteer Building, Suite 1000

832 Georgia Avenue

Chattanooga, Tennessee 37402-2289
Telephone: (423) 756-6600
Facsirnile: (423)785-8480

Email: rrose@millermartin.com
Email: larchibald@millermartin.com
Counselfor Plaintiff-Relators

CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and exact copy of the foregoing was
served via UPS Next Day Air in a properly addressed envelope, postage prepaid, to assure
delivery to:
Honorable Eric I-l. l~lolder, Jr.
Attorney General of the United States
U.S. Department ofJustice

950 Pennsylvania Avenue, NW
Washington, DC 20530

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A. Lee Bentley, lll, Esq.

Acting U. S_ Attorney, Middle District of Florida
400 North Tampa Street, Suite 3200

Tampa, Florida 33602

Kyle S. Cohen, Esq.
Assistant U. S. Attorney, l\/liddle District of Florida

21 10 First Street, Suite 3-137
Ft. Myers, Florida 33901

This 3 day ofDecember, 2013.

WELDON & R()THMAN, PL

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Bradley P. Rothman

 

